Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 1 of 24 PageID #: 1379




                        IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF NEW YORK


     In re HAIN CELESTIAL HEAVY
     METALS BABY FOOD LITIGATION                              Case No.: 2:21-CV-0678-JS-AYS


     This Document Relates To:
     Lawrence, et al. v. Hain Celestial Group, Inc.,
     1:21-CV-01287-JS-AYS (E.D.N.Y.)



                             AMENDED CLASS ACTION COMPLAINT

           Plaintiff, on behalf of himself and all others similarly situated, brings this class action suit

 for damages and injunctive relief for purchasers of Baby Food Products (as defined herein) that

 Defendant Hain Celestial Group (“Hain”) marketed and sold without disclosing that they were

 tainted with arsenic, lead, cadmium, and mercury (“Toxic Heavy Metals”) at levels above what

 is considered safe for babies. Plaintiff alleges the following based upon personal information as

 to allegations regarding himself, on the investigation of his counsel, and on information and

 belief as to all other allegations.

                                             BACKGROUND

           1.      On February 4, 2021, the Subcommittee on Economic and Consumer Policy of

 the U.S. House of Representatives (the “Subcommittee”) released a Report1 concluding that baby




 1
   Baby Foods Are Tainted with Dangerous Levels of Arsenic, Lead, Cadmium, and Mercury,
 Staff Report (“Report”), Subcommittee on Economic and Consumer Policy of the Committee on
 Oversight and Reform, U.S. House of Representatives, at 11, February 4, 2021, available at
 https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-02-
 04%20ECP%20Baby%20Food%20Staff%20Report.pdf.
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 2 of 24 PageID #: 1380




 food manufacturers, including Hain, sold Baby Food Products containing concentrations of

 inorganic arsenic, lead, cadmium, and mercury at levels above what is considered safe for babies.

        2.      Hain does not disclose the Toxic Heavy Metal content of its foods on its labels or

 in its marketing materials, nor does it warn consumers that its Baby Food Products may contain

 potentially dangerous levels of Toxic Heavy Metals.

        3.      Plaintiff and the Class members purchased Baby Food Products manufactured and

 sold by Hain, unaware that Hain’s products potentially contain Toxic Heavy Metals at levels

 well above what is considered safe for babies. Had Hain disclosed the Toxic Heavy Metal

 content on its product labels, or otherwise warned that its products could contain levels of Toxic

 Heavy Metals considered unsafe, neither Plaintiff nor any other reasonable consumer would have

 purchased Hain’s products.

        4.      Plaintiff brings this class action on his own behalf and on behalf of other

 purchasers of Hain’s’ Baby Food Products,2 to seek refunds and all other economic losses

 suffered as a result of their purchases of Hain’s Baby Food Products, as well as injunctive relief.

                                 JURISDICTION AND VENUE

        5.      This Court has original jurisdiction over this controversy pursuant to 28 U.S.C. §

 1332(d). The amount in controversy in this class action exceeds $5,000,000, exclusive of interest

 and costs, and there are numerous Class members who are citizens of states other than Hain’s

 state of citizenship, and more than two-thirds of the Class members reside in states other than the




 2
  The term “Baby Food Products” refers to Baby Food Products that contain Toxic Heavy
 Metals, including Baby Food Products purchased by Plaintiff. Plaintiff reserves the right to
 amend this definition as his investigation continues and he has had an opportunity to conduct
 discovery.
                                                  2
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 3 of 24 PageID #: 1381




 state in which this case is filed, and therefore any exemptions to jurisdiction under 28 U.S.C.

 §1332(d)(2) do not apply.

         6.      This Court has personal jurisdiction over Hain in this matter. Hain is

 headquartered in the State of New York. Moreover, Hain has been afforded due process because

 it has, at all times relevant to this matter, individually or through its agents, subsidiaries, officers

 and/or representatives, operated, conducted, engaged in and carried on a business venture in this

 state, and/or marketed, advertised, distributed and/or sold products, and caused injuries to

 Plaintiff and Class Members.

         7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Hain

 transacts substantial business and/or has agents within this District and have intentionally availed

 itself of the laws and markets within this district.

                                               PARTIES

         8.      Plaintiff Erik Lawrence is a resident of the State of Georgia. Mr. Lawrence

 purchased Baby Food Products made by Defendant Hain Celestial Group.3

         9.      Defendant Hain Celestial Group is a Delaware corporation with corporate

 headquarters in Lake Success, New York. Hain sells Baby Food Products under the Earth’s Best

 brand. Hain’s Baby Food Products are sold and purchased throughout the United States.




 3
   Mr. Lawrence purchased Earth’s Best organic infant rice cereal and several Earth’s Best
 pouches: sweet potato cinnamon flax oatmeal; sweet potato and apple puree; and apple peach
 oatmeal.
 .
                                                    3
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 4 of 24 PageID #: 1382




                                               FACTS

 A.     Hain Touts the Quality and Safety of Its Baby Food Products.

        10.     Few things are as precious as babies are to their parents and other caretakers.

 Consumer research from The Nielsen Company shows that the “big three” attributes buyers look

 for in a baby food product are a trusted brand, good infant nutrition, and the safety of the

 products for consumption by children.4

        11.     Consumers expect that baby food manufacturers will regard their children’s health

 and safety as paramount concerns when it comes to formulating their products, sourcing their

 ingredients, and testing for safety, and that manufacturers will be transparent in their labelling

 and marketing about what goes into their Baby Food Products.5

        12.     Unsurprisingly, Hain touts its Baby Food Products as being tested as safe for

 babies, in compliance with government regulations, and as containing only safe ingredients. For

 example, Hain’s website section on its “Commitment to food safety” claims that, “Nothing is

 more important to Earth’s Best than the trust and confidence of parents that our organic products

 provide safe nutrition for healthy babies. Our rigorous internal standards and testing procedures

 ensure Earth’s Best products meet or exceed the current federal guidelines.”6

        13.     However, Hain’s statements and marketing are incomplete, misleading and

 deceptive with respect to the existence and concentrations of Toxic Heavy Metals in its products.




 4
    OH, BABY! Trends in the Baby Food and Diaper Markets Around the World, at 17 (The
 Nielsen Company, August 2015) https://www.nielsen.com/wp-
 content/uploads/sites/3/2019/04/Global20Baby20Care20Report20Revised20FINAL-2.pdf
 (accessed March 1, 2021).
 5
   Id.
 6
   https://www.earthsbest.com/parents/faq/.
                                                   4
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 5 of 24 PageID #: 1383




        14.     Hain knows that Plaintiff and the other Class members lack the scientific

 knowledge and resources necessary to test or assess whether the Baby Food Products they

 purchase contain levels of Toxic Heavy Metals exceeding levels that are safe for babies.

 B.     Hain Sold Baby Food Products Tainted by Toxic Heavy Metals.

        15.     Scientists and child development experts have long known that childhood

 exposure to Toxic Heavy Metals can cause a number of adverse neurological, cognitive, and

 other developmental consequences. Many of these changes are irreversible, including permanent

 losses in IQ, memory, and comprehension, as well as ADHD and behavioral problems that

 persist into adulthood and result in reduced earning capacity.

        16.     The FDA cautions that Toxic Heavy metals have “no established health benefit”

 and “even low levels of harmful metals from individual food sources, can sometimes add up to a

 level of concern.”7

        17.     There is no level of Toxic Heavy Metal exposure that is considered acceptable for

 babies. Child advocacy organizations such as Healthy Babies Bright Futures recommends a goal

 of “no measurable amount” of Toxic Heavy Metals in Baby Food Products.8

        18.     In November 2019, the Subcommittee sought internal testing records and other

 documents from several baby food manufacturers, including Hain, to investigate concerns about

 heavy metals in baby foods.




 7
   Report, pp. 9-10 (quoting “Food and Drug Administration, Metals and Your Food” (online at
 www.fda.gov/food/chemicals-metals- pesticides-food/metals-and-your-food) (accessed Jan. 26,
 2021)).
 8
   Report, pp. 13, 21, 29, &32) (citing Healthy Babies Bright Futures, What’s in My Baby’s Food?
 A National Investigation Finds 95 Percent of Baby Foods Tested Contain Toxic Chemicals That
 Lower Babies’ IQ, Including Arsenic and Lead (Oct. 2019) (online at
 www.healthybabyfood.org/sites/healthybabyfoods.org/files/2019-
 10/BabyFoodReport_FULLREPORT_ENGLISH_R5b.pdf).
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Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 6 of 24 PageID #: 1384




        19.     Based on this investigation, the Subcommittee concluded that “commercial baby

 foods contain dangerous levels of arsenic, lead, mercury, and cadmium.”9

        20.     The Subcommittee further found that baby food manufacturers “knowingly sell

 these products to unsuspecting parents, in spite of internal company standards and test results,

 and without any warning labeling whatsoever.”10

        21.     The Subcommittee added that, “naturally occurring toxic heavy metal may not be

 the only problem causing dangerous levels of toxic heavy metals in baby foods; rather, baby food

 producers like Hain” are compounding the problem by “adding ingredients that have high levels

 of toxic heavy metals into their products, such as vitamin/mineral pre-mix.”11

        22.     The Subcommittee also criticized the industry’s testing practices.12

        23.     Hain typically only tested ingredients, which likely underrepresents the levels of

 Toxic Heavy Metals in their finished Baby Food Products.13 According to the Subcommittee,

 “[o]n August 1, 2019, FDA received a secret slide presentation from Hain, the maker of Earth’s

 Best Organic baby food, which revealed that finished Baby Food Products contain even higher

 levels of toxic heavy metals than estimates based on individual ingredient test results. One heavy

 metal in particular, inorganic arsenic, was repeatedly found to be present at 28-93% higher levels

 than estimated.”14




 9
   Report, p. 59.
 10
    Id.
 11
    Report, p. 56.
 12
    Report, p. 13.
 13
    Report, pp. 56-57.
 14
    Report, p. 59.
                                                  6
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 7 of 24 PageID #: 1385




        24.     The Subcommittee observed that in many cases, Hain released products for sale

 even after its test results showed concentrations of Toxic Heavy Metals in finished products or

 ingredients exceeding its own internal goal thresholds.15

        25.     Inorganic Arsenic. Regulation of inorganic arsenic in baby food is limited.

 According to the Subcommittee Report, the FDA has set a maximum allowable level of 10 parts

 per billion (ppb) for both bottled and tap water; however, there “is no established safe level for

 consumption inorganic arsenic for babies.”16

        26.     The Subcommittee found that while Hain typically only tests ingredients, a secret

 Hain presentation to the FDA showed inorganic arsenic levels averaging 129 ppb in product

 samples.17 The Subcommittee also reported that Hain used vitamin premixes and at least 24 other

 ingredients after testing showed they contained levels of inorganic arsenic over 100 ppb.18

        27.     Lead. While there are no Federal standards for lead in baby foods, the

 Subcommittee found “a growing consensus among health experts that lead levels in baby foods

 should not exceed 1 ppb.”19

        28.     Hain reportedly “used six ingredients that tested above 200 ppb lead … 88

 ingredients with lead levels at or over 20 ppb—the EU’s standard for lead in infant formula …

 … 115 ingredients that registered at or over 15 ppb—EPA’s action level for drinking water. And

 at least 27% of Hain ingredients tested at or over 5 ppb lead, FDA’s standard for lead in bottled




 15
    Report, p. 41.
 16
    Report, p. 13.
 17
    Report, p. 16.
 18
    Report, p. 16.
 19
    Report, p. 21.
                                                  7
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 8 of 24 PageID #: 1386




 water.20 Hain also “used a vitamin pre-mix in its baby food that contained as much as 352 ppb

 lead.”21

            29.   Cadmium. While there are no federal standards for cadmium in baby foods, the

 Subcommittee identified proposed and existing cadmium standards including 5 ppb for drinking

 water (FDA and EPA). 22

            30.   Hain reportedly “used 14 ingredients that contained more than 100 ppb cadmium

 … and used 102 ingredients that registered at or above 20 ppb cadmium—the EU’s lax upper

 limit.”23

            31.   Mercury. There are also no federal standards for Mercury in baby foods. The

 EPA limits mercury in drinking water to 2 ppb.”24

            32.   According to the Subcommittee, Hain did not even test for mercury.25

            33.   The concentrations of Toxic Heavy Metals reflected in Hain’s own test results and

 as reported by the Subcommittee showed Hain is knowingly selling Baby Food Products and

 using ingredients that contain potentially dangerous levels of Toxic Heavy Metals.

 C.         Plaintiff and other Class Members Were Harmed.

            34.   Prior to the release of the Subcommittee Report, Plaintiff and each member of the

 proposed Classes purchased one of more Baby Food Products manufactured and sold by Hain,

 intending for them to be fed to children and believing that they were of high quality and safe for




 20
    Report, p. 27.
 21
    Report, p. 26.
 22
    Report, p. 21.
 23
    Report, p. 30.
 24
    Report, p. 32.
 25
    Report, p. 33.
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Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 9 of 24 PageID #: 1387




 children to consume. Plaintiff was unaware that Hain would sell Baby Food Products that

 contained undisclosed dangerous levels of Toxic Heavy Metals.

         35.    Based on Hain’s product labelling and marketing materials, Plaintiff did not

 expect, and no reasonable consumer would have expected, that any of Hain’s Baby Food

 Products contained Toxic Heavy Metals at unsafe levels.

         36.    Had Plaintiff and the other Class members known that Hain was selling Baby

 Food Products containing Toxic Heavy Metals above levels considered safe for their infants as

 revealed in the Subcommittee Report, they never would have purchased Hain’s Baby Food

 Products.

         37.    Upon learning that Hain’s Baby Food Products potentially contain Toxic Heavy

 Metals at levels considered unsafe for children, Plaintiff no longer believed the Hain’s Baby

 Food Products were quality products or safe for consumption by babies and children.

                               CLASS ACTION ALLEGATIONS

         38.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23,

 individually and as a representative of all those similarly situated, on behalf of a proposed

 nationwide class defined as: All persons in the United States who purchased Hain’s Baby Food

 Products (the “National Class”). Excluded from the Class are Hain, its present and former parent

 companies, subsidiaries and affiliates, federal governmental entities and instrumentalities of the

 federal government, states and their subdivisions, agencies, and instrumentalities, and purchasers

 for resale.

         39.    Plaintiff also brings this action pursuant to Federal Rule of Civil Procedure 23,

 individually and as representative of all those similarly situated, on behalf of a proposed Georgia

 class defined as: All persons who purchased Hain’s Baby Food Products in the State of Georgia



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Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 10 of 24 PageID #: 1388




  (the “Georgia Class”). Excluded from the Class are Hain, its present and former parent

  companies, subsidiaries and affiliates, federal governmental entities and instrumentalities of the

  federal government, states and their subdivisions, agencies, and instrumentalities, and purchasers

  for resale.

          40.        The members of each of the Classes are so numerous that their individual joinder

  is impracticable. On information and belief, members of each of the Classes number in the tens

  or hundreds of thousands. The precise number of members of each of the Classes and their

  addresses are presently unknown to Plaintiff but may be ascertained from grocery and other

  records. Class members may be notified of the pendency of this action by mail, email, Internet

  postings, and/or publication.

          41.        Common questions of law and fact exist as to all members of each Class and

  predominate over questions affecting only individual Class members. Such common questions of

  law or fact include:

                a.          Whether Hain’s Baby Food Products contain Toxic Heavy Metals at levels
                            higher than what is considered safe for babies;

                b.          Whether Hain misrepresented to Plaintiff and the Class members that its
                            Baby Food Products were safe for consumption by babies and did not
                            contain potentially unsafe levels of Toxic Heavy Metals;

                c.          Whether Hain omitted and concealed the fact that its Baby Food Products
                            contained Toxic Heavy Metals higher than levels considered safe for
                            babies;

                d.          Whether the presence of Toxic Heavy Metals in Hain’s Baby Food
                            Products was a material fact to Plaintiff and Class members;

                e.          Whether Hain’s conduct violated Georgia’s Fair Business Practices Act or
                            Uniform Deceptive Trade Practices Act;

                f.          Whether Hain breached express or implied warranties to Plaintiff and the
                            Class members; and



                                                     10
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 11 of 24 PageID #: 1389




               g.        Whether Hain’s conduct resulted in Hain unjustly retaining a benefit to the
                         detriment of Plaintiff and Class members, and violated the fundamental
                         principles of justice, equity, and good conscience.

         42.     Plaintiff’s claims are typical of the claims of the other members of the Classes,

  because, among other things, Plaintiff and all Class members suffered the same type of injury,

  namely, paying for a product that they otherwise would not have purchased had Hain disclosed

  the presence of Toxic Heavy Metals in its Baby Food Products. Further, there are no defenses

  available to Hain that are unique to Plaintiff.

         43.     Plaintiff is an adequate Class representative because his interests do not conflict

  with the interests of the other Class members he seeks to represent, he has retained counsel

  competent and experienced in class action litigation, and he and his counsel will prosecute this

  action vigorously. The Class members’ interests will be fairly and adequately protected by

  Plaintiff and his counsel.

         44.     A class action is superior to any other available means for the fair and efficient

  adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

  management of this class action. The damages or other financial detriment suffered by Plaintiff

  and the other members of the Classes individually are relatively small compared to the burden

  and expense that would be required to separately litigate their claims against Hain, so it would be

  uneconomical and impracticable for Class members to individually seek redress for Hain’s

  wrongful conduct. Even if Class members could afford individual litigation, the court system

  could not. Individualized litigation creates a potential for inconsistent or contradictory judgments

  and increases the delay and expense to all parties and the court system. By contrast, the Class

  action device presents far fewer management difficulties, and provides the benefits of single

  adjudication, economy of scale, and comprehensive supervision by a single court.



                                                    11
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 12 of 24 PageID #: 1390




                                               COUNT I
                                BREACH OF EXPRESS WARRANTY
                      (On Behalf of the National Class and the Georgia State Class)

          45.     Plaintiff incorporates the allegations in the preceding paragraphs as though fully

  set forth herein.

          46.     This cause of action is brought on behalf of the each of the Classes against Hain.

          47.     In connection with its sale of Baby Food Products, by and through statements in

  labels, publications, package inserts, and other written materials intended for consumers and the

  general public, Hain made certain express affirmations of fact and/or promises relating to its

  Baby Food Products to Plaintiff and the Classes, as alleged herein, including that such Baby

  Food Products were safe for consumption by infants and fit to be used for their intended purpose.

  These express affirmations of fact and/or promises include incomplete warnings and instructions

  that purport, but fail, to include the risks associated with use of Baby Food Products containing

  Toxic Heavy Metals.

          48.     Hain advertised, labeled, marketed, and promoted Baby Food Products with such

  express affirmations of fact and/or promises in such a way as to induce their purchase or use by

  Plaintiff and the Classes, thereby making an express warranty that Baby Food Products would

  conform to the representations.

          49.     Hain’s affirmations of fact and/or promises about Baby Food Products, as set

  forth herein, constituted affirmations of fact or promises made by the seller to the buyer, which

  related to the goods and became part of the basis of the bargain.

          50.     Despite the express warranties Hain created with respect to Baby Food Products,

  Hain delivered Baby Food Products to Plaintiff and the Classes that did not conform to Hain’s

  express warranties in that such Baby Food Products were defective, dangerous, and unfit for use,



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Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 13 of 24 PageID #: 1391




  did not contain labels adequately representing the nature of the risks associated with their use,

  and were not merchantable or safe for their intended, ordinary, and foreseeable use and purpose.

  Specifically, Hain breached the express warranties by

  representing through its labeling, advertising, and marketing materials that its Baby Food

  Products were safe, and intentionally withheld information about the contents and risks

  associated with use of the Baby Food Products.

           51.   Hain had sole access to material facts concerning the nature of the risks associated

  with its Baby Food Products, as expressly stated on their labels, and knew that consumers and

  purchasers such as Plaintiff could not have reasonably discovered that the risks expressly

  included in Baby Food Products’ labels or other statements about their Baby Food Products were

  inadequate and inaccurate. Plaintiff and each member of the Classes have had sufficient direct

  dealings with either Hain or its agents (including distributors, dealers, and authorized sellers) to

  establish privity of contract between Hain, on the one hand, and Plaintiff and each member of the

  Classes, on the other hand.

           52.   As a direct and proximate result of Hain’s breaches of express warranties, as

  alleged herein, Plaintiff and the Classes sustained an economic loss in an amount to be proven at

  trial.

           53.   As a result of Hain’s breaches of express warranties, as alleged herein, Plaintiff

  and the Classes seek an order awarding compensatory damages and any other just and proper

  relief available under the law.




                                                   13
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 14 of 24 PageID #: 1392




                                               COUNT II
                                BREACH OF IMPLIED WARRANTY
                      (On Behalf of the National Class and the Georgia State Class)

          54.     Plaintiff incorporates the allegations in the preceding paragraphs as though fully

  set forth herein.

          55.     This cause of action is brought on behalf of the each of the Classes against Hain.

          56.     At all relevant times, Hain was a merchant with respect to Baby Food Products

  that were sold to Plaintiff and members of the Classes and was in the business of selling such

  products.

          57.     Each Baby Food Product sold by Hain comes with an implied warranty that it will

  be merchantable and fit for the ordinary purpose for which it would be used.

          58.     Hain breached its implied warranty of merchantability because its products were

  not in merchantable condition when sold.

          59.     Hain’s Baby Food Products are not fit for the ordinary purpose for which they

  were sold because they contain Toxic Heavy Metals.

          60.     Plaintiff and members of the Classes were injured as a direct and proximate result

  of Hain’s breaches of implied warranties of merchantability. Plaintiff and members of the

  Classes were damaged as a result of Hain’s breaches of implied warranties of merchantability

  because, had they been aware of the unmerchantable condition of the Baby Food Products, they

  would not have purchased such products.

          61.     As a result of Hain’s breaches of implied warranties of merchantability, as alleged

  herein, Plaintiffs and the Classes seek an order awarding compensatory damages and any other

  just and proper relief available under the law.




                                                    14
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 15 of 24 PageID #: 1393




                                              COUNT III
                                        UNJUST ENRICHMENT
                      (On Behalf of the National Class and the Georgia State Class)

          62.     Plaintiff incorporates the allegations in the preceding paragraphs as though fully

  set forth herein.

          63.     This cause of action is brought on behalf of each of the Classes against Hain.

          64.     Hain intended and expected that, as a result of its knowing wrongful acts as

  alleged above, Hain would profit and benefit from sales of Baby Food Products that would

  otherwise have not occurred.

          65.     Hain voluntarily accepted and retained these profits and benefits, knowing full

  well that Plaintiff and the other Class members received Baby Food Products that were not of a

  quality level that reasonable purchasers expect of foods intended for babies.

          66.     Hain has been unjustly enriched by its wrongful and deceptive withholding of

  benefits to its customers at the expense of Plaintiff and the Class members.

          67.     Principles of equity and good conscience preclude Hain from retaining these

  profits and benefits.

          68.     As a direct and proximate result of Hain’s unjust enrichment, Plaintiff and the

  Class members suffered injury and seek an order compelling Hain to disgorge and return to

  Plaintiff and the Class members the amounts that each Class member paid to the Hain.

                                      COUNT IV
            VIOLATION OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                        (GA. CODE ANN. §10-1-390, ET SEQ.)
                     (On Behalf of the Georgia Class Against Hain)

          69.     Plaintiff Lawrence incorporates the allegations in the preceding paragraphs as

  though fully set forth herein.

          70.     This cause of action is brought on behalf of the Georgia Class against Hain.

                                                   15
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 16 of 24 PageID #: 1394




         71.        Hain, Plaintiff, and the Georgia Class members are “[p]erson[s]” within the

  meaning of Ga. Code Ann. §10-1-392(a)(24).

         72.        Plaintiff and the Georgia Class members are “[c]onsumer[s]” within the meaning

  of Ga. Code Ann. §10-1-392(a)(6).

         73.        Hain was and is engaged in “[t]rade” and “commerce” within the meaning of Ga.

  Code Ann. §10-1-392(a)(28).

         74.        The Georgia Fair Business Practices Act (“Georgia FBPA”) prohibits “[u]nfair or

  deceptive acts or practices in the conduct of consumer transactions and consumer acts or

  practices in trade or commerce.” Ga. Code Ann. §10-1-393(a).

         75.        The Georgia FBPA makes unlawful specific acts, including:

               a.          “[r]epresenting that goods or services have sponsorship, approval,
                           characteristics, ingredients, uses, benefits, or quantities that they do not
                           have” (Ga. Code Ann. §10-1-393(b)(5));

               b.          “[r]epresenting that goods or services are of a particular standard, quality,
                           or grade or that goods are of a particular style or model, if they are of
                           another” (Ga. Code Ann. §10-1-393(b)(7)); and

               c.          “[a]dvertising goods or services with intent not to sell them as advertised”
                           (Ga. Code Ann. §10-1-393(b)(9)).

         76.        In the course of its business Hain, through its agents, employees, and/or

  subsidiaries, violated the Georgia FBPA by knowingly and intentionally misrepresenting,

  omitting, concealing, or failing to disclose material facts that its Baby Food Products contained

  Toxic Heavy Metals at unsafe levels that rendered them unfit to be used for their intended

  purpose, as detailed above.

         77.        Specifically, by knowingly and intentionally misrepresenting, omitting,

  concealing, or failing to disclose material facts regarding Baby Food Products, as detailed above,




                                                     16
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 17 of 24 PageID #: 1395




  Hain engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

  commerce, in violation of the Georgia FBPA, including:

               a.          representing that the Baby Food Products have characteristics, uses,
                           benefits, and qualities which they do not have;

               b.          representing that the Baby Food Products are of a particular standard,
                           quality, and grade when they are not;

               c.          advertising the Baby Food Products with the intent not to sell them as
                           advertised; and

               d.          engaging in any other unconscionable, false, misleading, or deceptive act
                           or practice in the conduct of trade or commerce.

         78.        Hain’s misrepresentations and omissions regarding its Baby Food Products were

  disseminated to Plaintiff and the Georgia Class members in a uniform manner.

         79.        Specifically, Hain’s unfair or deceptive acts or practices, including its

  misrepresentations, concealments, omissions, or suppressions of material facts, as alleged herein,

  had a tendency or capacity to mislead and create a false impression in consumers’ minds, and

  were likely to and, in fact, did deceive reasonable consumers, including Plaintiff and the Georgia

  Class members, that the Baby Food Products are considered safe for consumption by babies.

         80.        The facts regarding Baby Food Products that Hain knowingly and intentionally

  misrepresented, omitted, concealed, or failed to disclose would be considered material by a

  reasonable consumer, and they were, in fact, material to Plaintiff and the Georgia Class

  members, who consider such facts to be important to their purchase decisions with respect to

  Baby Food Products.

         81.        Plaintiff and the Georgia Class members had no way of discerning that Hain’s

  representations were false and misleading, or otherwise learning the facts that Hain had




                                                      17
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 18 of 24 PageID #: 1396




  concealed or failed to disclose. Plaintiff and the Georgia Class members did not, and could not,

  overcome Hain’s deception on their own.

          82.     Hain had an ongoing duty to Plaintiff and the Georgia Class members to refrain

  from unfair or deceptive practices under the Georgia FBPA in the course of its business.

  Specifically, Hain owed Plaintiff and Georgia Class members a duty to disclose all the material

  facts concerning Toxic Heavy Metals in Baby Food Products because it possessed exclusive

  knowledge, it intentionally failed to disclose the Toxic Heavy Metal content of Baby Food

  Products to Plaintiff and the Georgia Class members, and/or it made representations that were

  rendered misleading because they were contradicted by known but withheld facts.

          83.     Plaintiff and the Georgia Class members were aggrieved by Hain’s violations of

  the Georgia FBPA because they suffered ascertainable loss and actual damages as a direct and

  proximate result of Hain’s knowing and intentional misrepresentations, omissions, concealments,

  and failures to disclose material facts regarding Baby Food Products, including that such Baby

  Food Products contained Toxic Heavy Metals at levels above those considered safe for

  consumption by babies and not fit to be used for their intended purpose. Specifically, Plaintiff

  and the Georgia Class members purchased Baby Food Products in reliance on Hain’s

  misrepresentations, omissions, concealments, and failures to disclose material facts regarding

  Baby Food Products. Had Hain not engaged in the deceptive acts and practices alleged herein,

  Plaintiff and other Georgia Class members would not have purchased the Baby Food Products,

  and, thus, they did not receive the benefit of the bargain and/or suffered out-of-pocket loss.

          84.     Hain’s violations present a continuing risk to Plaintiff and the Georgia Class

  members, as well as to the general public. Hain’s unlawful acts and practices complained of

  herein affect the public interest.



                                                   18
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 19 of 24 PageID #: 1397




         85.        Hain was provided notice of the issues raised in this count and this Complaint by

  the Subcommittee Report and other lawsuits filed against it.

         86.        Because Hain failed to adequately remedy its unlawful conduct within the

  requisite time period, Plaintiff seeks all damages and relief to which Plaintiff and the Georgia

  Class members are entitled.

         87.        As a result of Hain’s violations of the Georgia FBPA, as alleged herein, Plaintiff

  and the Georgia Class members seek an order enjoining Hain’s unfair or deceptive acts or

  practices and awarding actual damages and any other just and proper relief available under the

  Georgia FBPA.

                                   COUNT V
  VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES ACT
                    (GA. CODE ANN. §10-1-370, ET SEQ.)
                 (On Behalf of the Georgia Class Against Hain)

         88.        Plaintiff Lawrence incorporates the allegations in the preceding paragraphs as

  though fully set forth herein.

         89.        This cause of action is brought on behalf of the Georgia Class against Hain.

         90.        Hain, Plaintiff, and the Georgia Class members are “[p]erson[s]” within the

  meaning of Ga. Code Ann. §10-1-371(5).

         91.        The Georgia Uniform Deceptive Trade Practices Act (“Georgia UDTPA”)

  prohibits “deceptive trade practices . . . in the course of [a] business, vocation, or occupation.”

  Ga. Code Ann. §10-1-372(a).

         92.        The Georgia UDTPA makes unlawful specific acts, including:

               a.          “[r]epresent[ing] that goods or services have sponsorship, approval,
                           characteristics, ingredients, uses, benefits, or quantities that they do not
                           have” (Ga. Code Ann. §10-1-372(a)(5));




                                                     19
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 20 of 24 PageID #: 1398




               b.          “[r]epresent[ing] that goods or services are of a particular standard,
                           quality, or grade or that goods are of a particular style or model, if they are
                           of another” (Ga. Code Ann. §10-1-372(a)(7));

               c.          “[a]dvertis[ing] goods or services with intent not to sell them as
                           advertised” (Ga. Code Ann. §10-1-372(a)(9)); and

               d.          “[e]ngag[ing] in any other conduct which similarly creates a likelihood of
                           confusion or of misunderstanding” (Ga. Code Ann. §10-1-372(a)(12)).

         93.        In the course of its business Hain, through its agents, employees, and/or

  subsidiaries, violated the Georgia UDTPA by knowingly and intentionally misrepresenting,

  omitting, concealing, or failing to disclose material facts regarding Baby Food Products, as

  detailed above.

         94.        Specifically, by knowingly and intentionally misrepresenting, omitting,

  concealing, or failing to disclose material facts regarding Baby Food Products, as detailed above,

  Hain engaged in one or more unfair or deceptive acts or practices in the conduct of trade or

  commerce, in violation of the Georgia UDTPA, including:

               a.          representing that the Baby Food Products have characteristics, uses,
                           benefits, and qualities which they do not have;

               b.          representing that the Baby Food Products are of a particular standard,
                           quality, and grade when they are not;

               c.          advertising the Baby Food Products with the intent not to sell them as
                           advertised; and

               d.          engaging in any other unconscionable, false, misleading, or deceptive act
                           or practice in the conduct of trade or commerce.

         95.        Hain’s misrepresentations and omissions regarding Baby Food Products were

  disseminated to Plaintiff and the Georgia Class members in a uniform manner.

         96.        Hain’s unfair or deceptive acts or practices, including its misrepresentations,

  concealments, omissions, or suppressions of material facts, as alleged herein, had a tendency or



                                                     20
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 21 of 24 PageID #: 1399




  capacity to mislead and create a false impression in consumers’ minds, and were likely to and, in

  fact, did deceive reasonable consumers, including Plaintiff and the Georgia Class members,

  about the true nature of Baby Food Products.

         97.     The facts regarding Baby Food Products that Hain knowingly and intentionally

  misrepresented, omitted, concealed, or failed to disclose would be considered material by a

  reasonable consumer, and they were, in fact, material to Plaintiff and the Georgia Class

  members, who consider such facts to be important to their purchase decisions with respect to

  Baby Food Products.

         98.     Plaintiff and the Georgia Class had no way of discerning that Hain’s

  representations were false and misleading, or otherwise learning the facts that Hain had

  concealed or failed to disclose. Plaintiff and the Georgia Class did not, and could not, learn of

  Hain’s deception on their own.

         99.     Hain had an ongoing duty to Plaintiff and the Georgia Class to refrain from unfair

  or deceptive practices under the Georgia UDTPA in the course of its business. Specifically, Hain

  owed Plaintiff and the Georgia Class a duty to disclose all the material facts concerning Toxic

  Heavy Metals in Baby Food Products because it possessed exclusive knowledge, it intentionally

  concealed or failed to disclose the facts regarding its Baby Food Products from Plaintiff and the

  Georgia Class, and/or it made misrepresentations that were rendered misleading because they

  were contradicted by withheld facts.

         100.    Plaintiff and the Georgia Class were aggrieved by Hain’s violations of the

  Georgia UDTPA because they suffered ascertainable loss and actual damages as a direct and

  proximate result of Hain’s knowing and intentional misrepresentations, omissions, concealments,

  or failures to disclose material facts regarding Baby Food Products, including that such Baby



                                                   21
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 22 of 24 PageID #: 1400




  Food Products contained unsafe levels of Toxic Heavy Metals. Specifically, Plaintiff and the

  Georgia Class purchased Baby Food Products in reliance on Hain’s misrepresentations,

  omissions, concealments, and failures to disclose material facts regarding Baby Food Products.

  Had Hain not engaged in the deceptive acts and practices alleged herein, Plaintiff and the

  Georgia Class would not have purchased the Baby Food Products, and, thus, they did not receive

  the benefit of the bargain and/or suffered out-of-pocket loss.

          101.       Hain’s violations present a continuing risk to Plaintiff and the Georgia Class, as

  well as to the general public. Hain’s unlawful acts and practices complained of herein affect the

  public interest.

          102.       Hain was provided notice of the issues raised in this count and this Complaint by

  the Subcommittee Report and other lawsuits filed against them.

          103.       As a result of Hain’s violations of the Georgia UDTPA, as alleged herein,

  Plaintiff and the Georgia Class seek an order enjoining Hain’s unfair or deceptive acts or

  practices, awarding damages, and awarding any other just and proper relief available under the

  Georgia UDTPA.

                                         DEMAND FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seek

  a judgment against Hain, as follows:

                     a.     For an order certifying the Classes under Rule 23 of the Federal Rules of
                            Civil Procedure and naming Plaintiff as representative of the Classes as set
                            forth above and appointing Plaintiff’s attorneys as Class Counsel;

                     b.     For an order finding in favor of Plaintiff and the Classes on all counts
                            asserted herein;

                     c.     For an order enjoining Hain from selling Baby Food Products until the
                            higher and/or unsafe levels of Toxic Heavy Metals are removed or full
                            disclosure of the presence of Toxic Heavy Metals appears on all labels,

                                                      22
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 23 of 24 PageID #: 1401




                         packaging, and advertising;

                d.       For an order enjoining Hain from selling Baby Food Products while in any
                         manner suggesting or implying that they are healthy, nutritious, and safe
                         for consumption;

                e.       For an order requiring Hain to engage in a corrective advertising campaign
                         and engage in any further necessary affirmative injunctive relief, such as
                         recalling existing products;

                f.       For damages in amounts to be determined by the Court and/or jury;

                g.       For prejudgment interest on all amounts awarded;

                h.       For an order of restitution and all other forms of equitable monetary relief;
                         and

                i.       For an order awarding Plaintiff and the Classes their reasonable attorneys’
                         fees and expenses and costs of suit.

  Dated: June 17, 2021                          Respectfully submitted,


                                                /s/ Zahra R. Dean            .
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                                                  23
Case 2:21-cv-00678-JS-AYS Document 98 Filed 06/17/21 Page 24 of 24 PageID #: 1402




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                                       24
